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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

      UNITED STATES OF AMERICA

                        v.                          21-cr-00026 (CRC)

         CHRISTOPHER ALBERTS




                                NOTICE OF WITHDRAWAL


       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant United States Attorney Kyle

McWaters as counsel for the United States, are terminating their appearances as counsel of

record in this matter. All other government counsel noted on the docket at the time of this filing

will remain counsel for the United States.


Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052


                                              By:    /s//Kyle McWaters

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